     Case 14-01233-jw           Doc 57       Filed 07/26/18 Entered 07/26/18 15:10:45                     Desc Hearing
                                                  Notice Page 1 of 1
                                               United States Bankruptcy Court
                                                  District of South Carolina



Case Number: 14−01233−jw                                         Chapter: 13

In re:
 Abbie Law Connelly
                                                                                                       Filed By The Court
                                                    NOTICE OF HEARING                                       7/26/18
                                                                                                         Laura A. Austin
                                                                                                          Clerk of Court
                                                                                                       US Bankruptcy Court


PLEASE TAKE NOTICE that a hearing will be held at:

King and Queen Building
145 King Street
Room 225
Charleston SC 29401

on August 23, 2018 at 10:30 AM, to consider and act upon the following document(s):

Affidavit of Default and Request for Further 362 Hearing Re: Order on Motion For Relief From Stay Filed by Elizabeth R. Polk on
behalf of U.S. Bank National Association, not in its individual capacity but solely as trustee of NRZ Pass−Through Trust IX

The document(s) related thereto have been filed with the Court. Any party objecting to the relief sought must file a response with
the Clerk of Court in accordance with applicable rules and statutes and must serve the party seeking the relief with a copy of
said objection by 8/7/18. Any party objecting but failing to appear in prosecution of the objection may be considered to have
waived the objection.




                                                                               Laura A. Austin
                                                                               Clerk of Court
                                                                               United States Bankruptcy Court

                                                                               By: A Babb, Deputy Clerk
                                                                               1100 Laurel Street
                                                                               Columbia, SC 29201−2423
                                                                               (803) 765−5436
